Case 1:18-cv-00042-KJM Document 29 Filed 06/21/18 Page 1 of 7   PageID #: 769




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OHANA MILITARY COMMUNITIES, LLC and
FOREST CITY RESIDENTIAL MANAGEMENT, LLC

               IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF HAWAI‘I

OHANA MILITARY COMMUNITIES,              CIVIL NO. 18-00042 KJM
LLC and FOREST CITY
RESIDENTIAL MANAGEMENT,                  PLAINTIFFS OHANA MILITARY
LLC,                                     COMMUNITIES, LLC AND
                                         FOREST CITY RESIDENTIAL
                 Plaintiffs,             MANAGEMENT, LLC’S REQUEST
                                         FOR JUDICIAL NOTICE IN
     vs.
                                         SUPPORT OF THEIR MOTION TO
                                         DISMISS DEFENDANT CARA
CARA BARBER,                             BARBER’S COUNTERCLAIM;
                 Defendant.              CERTIFICATE OF SERVICE

                                         JUDGE: Kenneth J. Mansfield
                                         No Trial Date Set
Case 1:18-cv-00042-KJM Document 29 Filed 06/21/18 Page 2 of 7         PageID #: 770




     PLAINTIFFS OHANA MILITARY COMMUNITIES, LLC AND
   FOREST CITY RESIDENTIAL MANAGEMENT, LLC’S REQUEST
    FOR JUDICIAL NOTICE IN SUPPORT OF THEIR MOTION TO
     DISMISS DEFENDANT CARA BARBER’S COUNTERCLAIM

               Plaintiffs Ohana Military Communities, LLC (“Ohana”) and

  Forest City Residential Management, LLC (“FCRM”) (collectively

  “Plaintiffs”) respectfully move this Court, pursuant to Rule 201 of the

  Federal Rule of Evidence, to take judicial notice of the following exhibits

  that were attached to Plaintiffs’ Motion to Dismiss Defendant Cara Barber’s

  Counterclaim.

               Exhibit 1: Ohana and FCRM’s Memorandum in Support of

  Motion for Preliminary Injunction filed in Barber, et al. v. Ohana Military

  Communities, LLC, et al., CV 14-00217 HG-RLP (“Barber I”) on June 15,

  2016, ECF No. 278.

               Exhibit 2: The district court’s “Order Granting, in Part,

  Defendants’ Motion for Preliminary Injunction (ECF No. 278)”, filed on

  August 26, 2016 in Barber I, ECF No. 341.

               Exhibit 3: The Ninth Circuit Court of Appeals’ July 27, 2017

  Memorandum Opinion in Barber I, ECF No. 391.

               Exhibit 4: The redacted transcript of the August 15, 2016

  continued hearing on the Motion for Preliminary Injunction in Barber I,




                                        2
Case 1:18-cv-00042-KJM Document 29 Filed 06/21/18 Page 3 of 7         PageID #: 771




  which was unsealed by the district court. See Barber I, ECF No. 388

  (12/8/16 minute order).

               Plaintiffs cite the aforementioned exhibits in support of their

  Motion to Dismiss Ms. Barber’s Counterclaim. It is well-settled that the

  Court may take judicial notice of judicial pleadings and public records. See,

  e.g., MGIC Indem. Corp. v. Weisman, 803 F.2d 500, 504 (9th Cir. 1986)

  (“On a motion to dismiss, we may take judicial notice of matters of public

  record outside the pleadings”; taking judicial notice of a motion to dismiss

  and supporting memorandum); Rupert v. Bond, 68 F.Supp.3d 1142, 1154

  (N.D. Cal. 2014) (“A court may take judicial notice of documents filed in

  judicial or administrative proceedings, . . . and documents that are public

  record.”); Marks v. Tapia, No. CIV S-07-0371, 2008 WL 1897683, at *1 n.1

  (E.D. Cal. Apr. 28, 2008) (“Judicial notice may be taken of court records.”);

  see also In re Am. Apparel, Inc. S'holder Litig., 855 F.Supp.2d 1043, 1064

  (C.D. Cal. 2012) (“Because plaintiffs obtained the documents by making a

  FOIA request, the court will take judicial notice of them as matters of public

  record.”).

               It is also well-established that courts can rely on documents of

  which it takes judicial notice without transforming a motion to dismiss into a

  motion for summary judgment. See Velasco v. Sec. Nat’l Mortg. Co., 823 F.



                                         3
Case 1:18-cv-00042-KJM Document 29 Filed 06/21/18 Page 4 of 7          PageID #: 772




  Supp. 2d. 1061, 1064 n.1 (D. Haw. 2011) (“When ruling on a motion to

  dismiss, courts may generally consider allegations contained in the

  pleadings, exhibits attached to the complaint, and matters properly subject to

  judicial notice.”) (citation, brackets and quotation marks omitted); Caraang

  v. PNC Mortg., 795 F. Supp. 2d 1098, 1112 (D. Haw. 2011) (granting

  judicial notice – in connection with motion to dismiss – of mortgage

  agreements on the grounds that they are public records); Frame v. Cal-W.

  Reconveyance Corp., No. CV-11-0201-PHX-JAT, 2011 WL 3876012, at *1

  (D. Ariz. Sept. 2, 2011) (“The Court may take judicial notice of matters of

  public record without converting the Motions to Dismiss into motions for

  summary judgment.”).

               Each of the relevant exhibits relates to the preliminary

  injunction proceeding in Barber I. They are highly relevant to

  Ms. Barber’s Counterclaim because, to the extent the Counterclaim

  contains any factual allegations, those allegations falsely suggest that there

  was something improper with Plaintiffs’ conduct in connection with the

  preliminary injunction proceeding. See, e.g., Countercl. ¶¶ 27–28

  (“Counterclaim Defendants had an ulterior purpose when they filed the

  preliminary injunction motion as well as the current lawsuit. The filing of

  said motion and the present lawsuit was a willful act in the use of process



                                         4
Case 1:18-cv-00042-KJM Document 29 Filed 06/21/18 Page 5 of 7         PageID #: 773




  which was not proper in the regular conduct of the proceeding.”).

  Exhibits 1–4 are therefore highly relevant to showing there was no such

  improper conduct. Accordingly, Plaintiffs respectfully request that this

  Court take judicial notice of the above documents.


              DATED: Honolulu, Hawai‘i, June 21, 2018.




                                      /s/ Randall C. Whattoff
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                                      and FOREST CITY RESIDENTIAL
                                      MANAGEMENT, LLC




                                        5
Case 1:18-cv-00042-KJM Document 29 Filed 06/21/18 Page 6 of 7        PageID #: 774




                IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAWAI‘I


  OHANA MILITARY COMMUNITIES,                 CIVIL NO. 18-00042 KJM
  LLC and FOREST CITY
  RESIDENTIAL MANAGEMENT,                     CERTIFICATE OF SERVICE
  LLC,

                     Plaintiffs,

        vs.

  CARA BARBER,

                     Defendant.



                        CERTIFICATE OF SERVICE

              I hereby certify that, on the dates and by the methods of service

  noted below, a true and correct copy of the foregoing were served on the

  following at their last known addresses:

        Served Electronically via CM/ECF

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        CARA BARBER




                                        6
Case 1:18-cv-00042-KJM Document 29 Filed 06/21/18 Page 7 of 7   PageID #: 775




              DATED: Honolulu, Hawai‘i, June 21, 2018.




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